To Whom It May Concern:



I.     INTRODUCTION

       1.      I, Samuel K. Caughron, M.D., submit this expert report on behalf of the heirs of Shane

Aumick.

       2.      I have been asked to provide a statement of my opinions, based on my experience,

education, training in pathology, medical knowledge, and review of certain provided materials, regarding

the manner of death for Shane Aumick.



II.    QUALIFICATIONS AND EXPERIENCE

       3.      I am currently the Chair of Pathology for Advent Health Kansas City, Medical Director of

the Laboratory for Advent Health Shawnee Mission and President and CEO of MAWD Pathology Group

in Kansas City. I also serve on the Board for the Association for Molecular Pathology (AMP), the Board

for the Kansas City Medical Society, I am Vice-President for the Missouri Society of Pathologists and I

am on the Board of the Kansas City Guild of the Catholic Medical Association.

       4.      My primary office is located within the Department of Pathology at Advent Health

Shawnee Mission (9100 W 74th St, Merriam, KS 66204). I have a secondary office at the MAWD

Administrative location (14425 College Blvd, Suite 130, Lenexa, KS 66215).

       5.      I earned my Medical Degree (M.D.) from Creighton University in Omaha, Nebraska in

2002. I completed my residency in Anatomic and Clinical Pathology at Creighton University in Omaha,

Nebraska in 2006. I completed a fellowship in Molecular Genetic Pathology at Vanderbilt University in

Nashville, Tennessee in 2007.

       6.      I have maintained continuous certifications by the American Board of Pathology in

Anatomic and Clinical Pathology and Molecular Genetic Pathology since 2007.


                                                                        Exhibit F
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       7.       Additional details regarding my training, clinical experience, research, and

publications are provided in my curriculum vitae, Attachment A.

       8.       I have not testified as an expert at trial or by deposition in the last five years.

       9.       I receive $575 per hour for consultations and testimony rendered during the course of the

case. My compensation does not depend on the opinions rendered nor the outcome of this case.



III.   MATERIALS REVIEWED

       10.      In forming my opinion, I have reviewed the materials outlined in Attachment B.


IV .   GENERAL OPINIONS

       11.      In my opinion, and to a reasonable degree of medical certainty, if Shane Aumick is

determined to have died by cardiac arrest or another physiologic process, which process was itself

caused by positional asphyxia, then the manner of death for Shane Aumick would be classified as

homicide.

       12.      Shane Aumick's positional asphyxia leading to death would be the direct result of a

volitional act committed by another person. Put another way, absent the volitional acts committed

by another person, Shane Aumick would not have suffered positional asphyxia and died. His

positional asphyxia would be directly caused by the volitional acts of another human by having his

hands bound behind his back, being placed in the prone position and having his arms raised while

also having his thoracic mobility compromised by the act of kneeling on his body.

        13.     In my opinion, and to a reasonable degree of medical certainty, under the condition

Shane Aumick’s cause of death is determined to be the result of positional asphyxia, it would be

inappropriate to classify Shane Aumick’s manner of death as “natural”, “suicide”, “accidental” or

“unclassified/undetermined”.




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        14.       Classification of Shane Aumick’s manner of death as “homicide” does not in itself

determine the criminality of any event related to his death, either through commission or omission. It is

simply the determination that his death was due to the direct result of a volitional act committed by

another person.




V.      RATIONALE FOR OPINIONS


        15.       The manner of death of any human specifies the kind of death that took place. It does

not identify the specific cause of death, but rather speaks to the nature of the events that took place and

resulted in the death of the individual.

        16.       By widely accepted custom and by establishment in most states, the manner of death for

any individual can be classified as “natural”, “accident”, “homicide”, “suicide” or

“unclassified/undetermined”.

        17.       Any death that is the direct result of the volitional act of another human is appropriately

classified as “homicide”, or death caused by another human.

        18.       It is important to note that classification of the manner of death as “homicide” does not

provide any further implication about whether the death was the result of any criminal act. Although

the word “homicide” may suggest to some the presence of a criminal act of some sort, it is not

necessarily so. For example, the death of an individual convicted of a heinous crime and subjected to

capital punishment would also be classified as “homicide” by medical examination, even though when

carried out after due process and permitted by appropriate law it is obviously not criminal.

        19.       If Shane Aumick’s death was caused by positional asphyxia, because the positional

asphyxia was the direct result of the volitional acts that were used to restrain him during his encounter




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    with law enforcement then, from a medical examiner’s perspective, the manner of his death would be

    classified as “homicide”.

           20.      The intent of those restraining Shane Aumick is irrelevant to the manner of death.

    Whether the actions were criminal or not would be subject to separate determination.

           21.      The National Associate of Medical Examiners (NAME) is “the premier professional

    organization for medical examiners, forensic pathologists, and medicolegal affiliates and

    administrators.”1 In February 2002, NAME published the First Edition of “A Guide For Manner of

    Death Classification.” On page 11 of the publication, in paragraph 16 under the heading “Principles

    and recommendations for specific types of cases”, the following is written:

                   “Deaths due to positional restraint induced by law enforcement personnel or to
                   choke holds or other measures to subdue may be classified as Homicide. In such
                   cases, there may not be intent to kill, but the death results from one or more
                   intentional, volitional, potentially harmful acts directed at the decedent (without
                   consent, of course).” 2


    V.     SUMMARY OPINION

            22.     If Shane Aumick’s cause of death is established to be the result of positional asphyxia,

    then the manner of death would be classified as “homicide”.



                   Signed this 21st day of January, 2022.



                   _________________________________
                   Samuel K. Caughron, MD FCAP




1
 https://www.thename.org; accessed 1/21/22
2
 Hanzlick R, Hunsaker III JC, Davis GJ. A Guide For Manner of Death Classification - First Edition. NAME Publication
online 2/2002. Full document provided separately.



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                                              ATTACHMENT A

Samuel K. Caughron, MD FCAP                                                          Curriculum Vitae
scaughron@mawdpathology.com



Personal Information

Work                 MAWD Pathology Group
                     14425 College Blvd, Suite 130, Lenexa, Kansas 66215
                     (913) 396-8509 Fax: (913) 495-9759
                     scaughron@mawdpathology.com

Home                 9701 E 137th Street, Kansas City, Missouri 64149
                     (913) 735-9701
                     scaughron@gmail.com


Professional / Business Experience

2009 – Present       Advent Health Kansas City – Kansas City
                     Chair of Pathology
                     Medical Director of Laboratory
2009 – Present       MAWD Pathology – Kansas City
                     President & CEO
                     Founding Director, MAWD Molecular Laboratory
2007 – 2009          Yellowstone Pathology Institute, Inc. – Billings, Montana
                     Anatomic & Clinical Pathologist
                     Founding Director, Molecular Genetic Pathology Laboratory
1990 – 2016          Ciscare, Inc. (est. 2005); Proteron, LLC (est. 1997); Samat Software (est. 1990)
                     Founder and leader of companies doing software development in multiple verticals,
                     including healthcare, digital audio and OS/user experience


Education & Training

2006 – 2007          Vanderbilt University Medical Center – Nashville, Tennessee
                     Fellowship in Molecular Genetic Pathology
2002 – 2006          Creighton University Medical Center – Omaha, Nebraska
                     Anatomic and Clinical Pathology Residency, Chief Resident 2005-2006
1998 – 2002          Creighton University School of Medicine – Omaha, Nebraska
                     Doctor of Medicine, May 2002
1996 – 1997          Creighton University – Omaha, Nebraska
                     Medicine prerequisites
1992 – 1996          Thomas Aquinas College – Santa Paula, California
                     Bachelor of Arts in Liberal Arts, June 1996

Areas of Expertise

Molecular pathology including cancer biomarkers, next generation sequencing (NGS) and economic issues;
translating advanced diagnostics into viable solutions for improving patient care in a community setting;
anatomic pathology with subspecialty interest in solid tumors; laboratory medicine including clinical test
utilization; health information technologies; laboratory and pathology coding; healthcare leadership;
laboratory economics; community pathology




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Certifications / Licenses

Anatomic and Clinical Pathology, American Board of Pathology (Exp: 2027)
Molecular Genetic Pathology, American Board of Pathology (Exp: 2027)
New York State Dept. of Health Certificate of Qualification (CQ): Endocrinology, Genetic Testing,
    Oncology - Soluble Tumor Markers, Oncology – Molecular and Cellular Tumor Markers, Therapeutic
    Substance Monitoring/Quantitative Toxicology
Active Medical Licenses: Missouri, Kansas, Montana, Wyoming, Nebraska, Oklahoma


Professional Membership
American Medical Association (AMA)                   College of American Pathologists (CAP)
American Pathology Foundation (APF)                  Kansas City Society of Pathologists (KCSP)
American Society of Clinical Pathology (ASCP)        Kansas Society of Pathologists (KSP)
American Society of Clinical Oncology (ASCO)         Missouri Society of Pathologists (MSP)
Association for Molecular Pathology (AMP)            Missouri Medical Society (MMS)
Catholic Medical Association (CMA)                   Kansas City Medical Society (KCMS)



Committees and Service : Professional
2022 – Present   Kansas City Medical Society, Board Member
2021 – 2021      AMP COVID Response (ACR) Steering Committee, Member
2020 – Present   American Medical Association (AMA), Genomic Payment Advisory Group Co-chair
2019 – Present   Medicare Evidence Development and Coverage Advisory Committee (MEDCAC)
2015 – Present   Association for Molecular Pathology (AMP) Economic Affairs Committee (EAC), Chair
2017 – Present   Kansas Medicare Carrier Advisory Committee, Pathology Representative
2015 – Present   AMP Board of Directors, Board Member
2009 – Present   CMA Guild for Kansas City, Board Member (2009-Present), President (2013 – 2016)
2010 – Present   Missouri Society of Pathologists (MSP), Vice-President (2014-2020), Board Member
2012 – 2019      American Pathology Foundation (APF), Board Member
2017 – 2018      American Society for Clinical Pathology (ASCP), Dx Toolkit Lung Steering Committee
2012 – 2014      Association of Community Cancer Centers (ACCC), Medical Advisory Board Member
2008 – 2014      CAP Personalized Healthcare Committee, Vice-Chair 2011 – 2013
2012 – 2014      AMP Nominating Committee
2010 – 2014      AMP Economic Affairs Committee, Member, Co-chair
2011 – 2013      CAP Transformation Program Office Steering Committee (TPOSC)
2010 – 2011      CAP Technology Assessment Committee
2009             Montana Medicare Carrier Advisory Committee, Pathology Representative
2008 – 2009      CAP Information Science and Technology Council
2006 – 2007      College of American Pathologists (CAP) Board of Governors, ex officio member
2006 – 2008      CAP Residents Forum Executive Committee, Chair, Immediate Past Chair
2006 – 2007      CAP Council on Membership and Professional Development, Junior Member
2005 – 2006      CAP Council on Government and Professional Affairs, Junior Member
2004 – 2006      CAP Residents Forum Executive Committee, Delegate to the House of Delegates




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Committees and Service : Hospital and University
2020 – Present   Advent Health COVID-19 Lab Testing Governance
2020 – Present   Advent Health EPIC Implementation Team, Lab Rapid Decision Group Member
2011 – Present   Medical Executive Committee, Advent Health Shawnee Mission (AHSM), Mission, KS
2011 – Present   Cancer Committee, Chair (2016-Present), AHSM
2015 – 2019      Professional Culture Committee, AHSM
2011 – 2017      Breast Cancer Advisory Committee, AHSM
2007 – 2009      Ethics Committee, St. Vincent Hospital (SVH), Billings, MT
2007 – 2009      Informatics Committee, SVH
2005 – 2006      Graduate Medical Education Committee, Creighton University, Omaha, NE
2005 – 2006      House Staff Council, Creighton University
2002 – 2003      Health Information Committee, Creighton University Medical Center, Omaha, NE
1999 – 2002      Founding President, Creighton Catholic Medical Student Association, Omaha, NE



Publications : Peer Reviewed

• Tawfik OW, Subramanian J, Caughron SK, Mana P, Ewing E. Challenges in Pathology Specimen
Processing in the New Era of Precision Medicine. Arch Pathol Lab Med Advance Publication August
2021. doi: 10.5858/arpa.2021-0089-OA.
• Sireci AN, Patel JL, Joseph L, Hiemenz MC, Rosca OC, Caughron SK, Thibault-Sennett SA, Burke TL,
Aisner DL. Molecular Pathology Economics 101: An Overview of Molecular Diagnostics Coding,
Coverage, and Reimbursement: A Report of the Association for Molecular Pathology. J Mol Diagn. 2020
Aug;22(8):975-993.
• Joseph L, Cankovic M, Caughron S, Chandra P, Emmadi R, Hagenkord J, Hallam S, Jewell KE, Klein
RD, Pratt VM, Rothberg PG, Temple-Smolkin RL, Lyon E. The Spectrum of Clinical Utilities in
Molecular Pathology Testing Procedures for Inherited Conditions and Cancer: A Report of the Association
for Molecular Pathology. J Mol Diagn. 2016 Sep;18(5):605-19.
• Yohe SL, Carter AB, Pfeifer JD, Crawford JM, Cushman-Vokoun A, Caughron S, Leonard DG.
Standards for Clinical Grade Genomic Databases. Arch Pathol Lab Med. 2015 Nov;139(11):1400-12.
• Crawford JM, Bry L, Pfeifer J, Caughron SK, Black-Schaffer S, Kant JA, Kaufman JH. The business of
genomic testing: a survey of early adopters. Genet Med. 2014 Dec;16(12):954-61
• Moyer A, Caughron SK, Misialek M, Nowak J. Emerging concepts in the diagnosis of respiratory
viruses: short presentation on emerging concept(SPEC) [PowerPoint presentation]. Northfield, IL: College
of American Pathologists; 2013.
• Hicks D, Caughron SK, Misialek M, Moyer A, Nowak J. Emerging concepts in molecular testing in
breast cancer: short presentation on emerging concept (SPEC) [PowerPoint presentation]. Northfield, IL:
College of American Pathologists; 2013.
• Caughron SK, Foo WC, Nowak J, Witte D. Emerging concepts in the workup of colorectal cancer: short
presentation on emerging concept (SPEC) [PowerPoint presentation]. Northfield, IL: College of American
Pathologists; 2013.
• Caughron SK, Foo WC, Nowak J, Witte D, Emerging concepts in therapeutic guidance for metastatic
melanoma: short presentation on emerging concept (SPEC) [PowerPoint presentation]. Northfield, IL:
College of American Pathologists; 2013.
• Foo WC, Caughron SK, Nowak J, Witte D. Emerging concepts in the diagnosis and workup of thyroid
cancer: short presentation on emerging concept (SPEC) [PowerPoint presentation]. Northfield, IL: College
of American Pathologists; 2013.
• Witte D, Bagg A, Caughron SK, Foo WC, Nowak J. Emerging concepts in the workup of polycythemia
and thrombocythemia: JAK2: short presentation on emerging concept (SPEC) [PowerPoint presentation].
Northfield, IL: College of American Pathologists; 2013.
• Nowak J, Caughron SK, Foo, WC, Witte D. Emerging concepts in colorectal cancer: hereditary
nonpolyposis colorectal cancer (Lynch Syndrome): short presentation on emerging concept (SPEC)
[PowerPoint presentation]. Northfield, IL: college of American Pathologists; 2013.

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• Stevens TM, Caughron SK, Dunn ST, Knezetic J, Gatalica Z. Detection of high-risk HPV in head and
neck squamous cell carcinomas: comparison of chromogenic in situ hybridization and a reverse line blot
method. Appl Immunohistochem Mol Morphol. 2011 Dec;19(6):574-8.
• Shanesmith R, Allen RA, Moore WE, Kingma DW, Caughron SK, Gillies EM, Dunn ST. Comparision
of Two Line Blot Assays for Defining HPV Genotypes in Oral and Oropharyngeal Squamous Cell
Carcinomas. Diagn Microbiol Infect Dis. 2011 Jun;70(2):240-5. Epub 2011 Mar 9.
• Kingma DW, Allen RA, Moore W, Caughron SK, Melby M, Gillies BM, Marlar RA, Dunn ST. HPV
Genotype Distribution in Oral and Oropharyngeal Squamous Cell Carcinoma Using Seven In Vitro
Amplification Assays. Anticancer Res 2010; 30:5099-104.
• Kingma DW, Allen RA, Caughron SK, Melby M, Moore W, Gillies BM, Marlar RA, Dunn ST:
Comparison of molecular methods for detection of HPV in oral and oropharyngeal squamous cell
carcinoma. Diag Mol Path. 2010 Nov 4:19:218-23.
• Fraga GR, Caughron SK. Cutaneous myelofibrosis with JAK2 V617F mutation: metastasis, not merely
extramedullary hematopoiesis! Am J Dermatopathol. 2010 Oct;32(7):727-30.
• Vranic S, Caughron SK, Djuricic S, Bilalovic N, Zaman S, Suljevic I, Lydiatt W, Emanuel J, Gatalica Z.
Hamartomas, teratomas and teratocarcinosarcomas of the head and neck: Report of 3 new cases with
clinico-pathologic correlation, cytogenetic analysis, and review of the literature. BMC Ear, Nose and
Throat Disord. 2008 Nov 24;8:8. doi: 10.1186/1472-6815-8-8.
• Mark HL, Sotomayor EA, Nelson M, Chaves F, Sanger WG, Kaleem Z, Caughron, SK. Chronic
idiopathic myelofibrosis (CIMF) resulting from a unique 3;9 translocation disrupting the janus kinase 2
(JAK2) gene. Exp Mol Pathol. 2006 Dec;81(3):217-23.
 • Caughron SK, Bridge JA, Bewtra CB, Hunter WJ, Nelson M, Soundararajan SS, Silva E, Gatalica Z.
Monosomy 22 as a Diagnostic Aid in a Case of Late Recurrence of Adult Granulosa Cell Tumor of the
Ovary. Cancer Genet Cytogenet. 2005 Jan 1;156(1):83-5.


Publications : Abstracts and Posters

• Shane-Smith R, Allen, RA, Moore, W, Kingma, DW, Caughron, SK, Gillies, BM, Dunn, ST.
Comparison to two linear array assays for defining HPV genotypes in oral and oropharyngeal squamous
cell carcinomas. Abstract #0698. 26th International Papillomavirus Conference, July, 2010.
• Kingma D, Allen R, Caughron S, Melby M, Moore W, Gillies, B, Marlar R, Dunn ST. Comparison of
Molecular Methods for Detection of HPV in Oral and Oropharyngeal Squamous Cell Carcinoma. AMP
2009 Annual Meeting.
• Caughron S, Caughron A. The Use Of Wireless Handheld Devices To Improve Availability Of Inpatient
Results At An Academic Center And Its Cost Benefit Analysis. November 2005. Poster presentation at the
2005 World Health Innovation and Technology Congress in Washington, DC.
• Kaleem Z, Caughron S, Loggie B, Gatalica Z. DNA Ploidy Analysis by Flow Cytometry Can Help
Distinguish Peritoneal Mucinous Carcinomatosis from Disseminated Peritoneal Adenomucinosis in
Patients with Pseudomyxoma Peritonei. 2004. Poster presentation at 2004 CAP Annual Meeting.
• Kaleem Z, Caughron S, Loggie B, Gatalica Z. Diagnostic Utility of p53 and Ki-67 Labeling Indices and
Flow Cytometric DNA Ploidy Analysis in the Distinction of Well Differentiated Peritoneal Mesotheliomas
from Reactive Mesothelial Proliferations. 2004. Poster presentation at 2004 ASCP Annual Meeting.
• Caughron SK. A Prototype for the Development of Secure Wireless Solutions Deployed on Handheld
Devices. 2003. Abstract presented as E-Poster at APIII.
• Jurrens T, Lee N, Adickes E, Caughron S, Sobota K. Fulminant Toxoplasmosis in a Previously Healthy
Adult with Undiagnosed HIV Disease. 2003 poster presentation.




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Publications : Software Titles

• LARA (Live Anywhere Record Access). Sole developer, original software. System that provides real-
time, wireless access to patient information (lab, vital signs, reports, etc.) using handheld devices. Licensed
and supported by Ciscare, Inc, Omaha, Nebraska. First deployed November 2004 at Creighton University.
• Antibiogram for the Palm OS™. Sole developer. Supports antibiograms from multiple sites with
listing by organism or antibiotic. Personally published for Creighton and other sites, 2004-2006.
• LiteSwitch X (aka. LiteSwitch). Co-developed Mac OS X version with Ammon Skidmore; sole
developer of original version. Windows style keyboard switching for the Macintosh. Published by Proteron
LLC, Omaha, Nebraska. Originally released in 1997.
• Kelby’s Notes for Photoshop and Kelby’s Notes for Mac OS X. Lead developer. Integrated question
driven help system adapted for both Adobe Photoshop and Mac OS X with content by book author Scott
Kelby. Custom developed for Hallmark Cards and published by National Association of Photoshop
Professionals, Oldsmar, Florida. Originally released 2002 (Photoshop) and 2003 (Mac OS X).
• PRX Encoder. Sole developer. Digital audio encoder for creation of public radio content on the Mac OS.
Published by Public Radio Exchange, Cambridge, Massachusetts. Originally released in 2003.
• N2MP3 Professional (aka. N2MP3). Sole developer. High quality digital audio encoder for the
Macintosh. Published by Proteron LLC, Omaha, Nebraska. Originally released in 1999.
• MacMP3 v4 (aka. MacMP3). Sole developer of encoding component. Digital audio player and encoder
for the Macintosh. Published in Japan by Act2, Tokyo, Japan. Originally released in 1999.
• ACTION GoMac (aka. GoMac). Sole developer. Windows style taskbar for the Macintosh. Published by
Power On Software, New Albany, Ohio. Originally released by Proteron LLC in 1997.
• OneShot Worksheet. Sole developer. Free form page layout spreadsheet for the Macintosh. Published by
Baseline Publishing, Memphis, Tennessee. Originally released in 1991.


Research Interests and Grants
• Vanderbilt Clinical and Translational Research Enhancement Award. Fall 2006. Awarded funding
up to $3000 from the Department of Pathology at Vanderbilt University to develop a novel assay for
detection and investigate the clinical significance to CMPDs with the JAK2 V617F mutation.
• Molecular Pathology. June 2005. Awarded the Training in Technology Award from the CAP
Foundation to support the development of a breakapart FISH probe for the JAK2 gene (9p24). The probe
was developed in cooperation with Dr. Warren Sanger at the University of Nebraska Medical Center. I also
assisted Creighton’s mico lab to develop home-brew RT-PCR for detection of the influenza A virus.
• Integration of health information systems with handheld devices. At Creighton University I developed
a platform independent, secure system for the wireless delivery of patient information to handheld devices.
The project was funded by the Creighton Department of Pathology under a proposal for $48,000. The
project (Live Anywhere Record Access, LARA) was completed in Nov 2004 and is currently deployed
with over 250 physician users at the Creighton University Medical Center. A company, Ciscare, was
founded in 2005 to provide ongoing marketing and support.
• Automated electronic reporting of notifiable conditions. I worked with the State of Nebraska,
Department of Health and Human Services on the automatic detection and reporting of notifiable
conditions using standards for transport and medical vocabulary (NEDSS, PHIN-MS, LOINC, SNOMED,
etc.). I was funded $1600 for travel to the Public Health Information Network (PHIN) Shareholders
Meeting in Atlanta, Georgia in June 2004. Additional funding for $25,000 was used to implement a
completely automated electronic lab reporting (ELR) system at the Creighton University Medical Center.
The system has been functional in production since January 2006.




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Selected Teaching / Presentations

12/08/2020 – FDA/CMS Summit Invited Panelist, “Evolving Diagnostic Testing to Support Treatment
             Decision-Making,” Virtual Conference Invited Speaker and Panelist
11/23/2020 – Gynecologic Pathology Update, “HRD Testing In Ovarian Cancer: A Pathologist
             Perspective,” King Faisal Specialist Hospital & Research Centre, Riyadh, Saudi Arabia,
             Virtual Presentation
11/17/2020 – AMP 2020 Annual Meeting, “Laboratory Economics During a Public Health Emergency:
             Lessons Learned (and still learning) from the COVID-19 Pandemic,” Virtual Meeting
05/07/2020 – CAP TODAY Webinar, “Universal Testing for HRD in Ovarian Cancer: A Pathologist’s
             Perspective,” National Webinar
08/21/2019 – Next Generation Dx Summit, “Update on Coverage and Reimbursement from AMP’s
             Economic Affairs Committee (EAC),” Washington, DC
07/10/2019 – Mercy Hospital Joplin Grand Rounds, “Molecular Biomarker Testing in Cancer: Emerging
             Scientific and Practical Considerations for Implementing Precision Medicine,” Joplin, MO
06/04/2019 – Illinois Society for Microbiology (ISM) Annual Meeting, “Update on the Economics
             Landscape for Molecular Infectious Disease Testing,” Chicago, IL
04/15/2019 – American Pathology Foundation (APF) Coding & Practice Management Seminar, “Molecular
             Pathology: Applying Coding Guidelines to Clinical Processes,” New Orleans, LA
03/07/2019 – Clinical Lab Managers Association (CLMA), “Let’s Talk About the Economics of Molecular
             Testing,” Olathe, KS
11/02/2018 – Association for Molecular Pathology (AMP) Infectious Disease Subdivision Town Hall,
             “Economic Affairs Committee (EAC) Advocacy for Molecular ID,” San Antonio, TX
07/26/2018 – American Cancer Society (ACS), “Cancer Care: Advances in Diagnosis and Treatment,”
             Kansas City, MO
03/01/2018 – Sponsored dinner presentation and roundtable discussion, “Biomarker Testing & Liquid
             Biopsies – What is Standard of Care in a Community Oncology Setting?” Bozeman &
             Billings, MT
11/17/2017 – AMP Annual Meeting Innovations Spotlight Presentation, “Current and Emerging
             Biomarkers in Immuno-Oncology,” Salt Lake City, UT
11/17/2017 – AMP Annual Meeting, “Coding (and Other) Conundrums,” Salt Lake City, UT
10/17/2017 – Shawnee Mission Medical Center Grand Rounds, “The Genetics of Cancer – A Family
             Discussion,” Shawnee, KS
05/24/2017 – Olathe Medical Center Grand Rounds, “The Genetics of Cancer – A Family Discussion,”
             Olathe, KS
03/03/2017 – Clinical Lab Managers Association (CLMA) Summit on Molecular & Genetic Medicine,
             “Introduction to Molecular Testing for Cancer Diagnostics,” Olathe, KS
02/28/2017 – Kansas City Society of Pathologists, “Liquid Biopsies: A Brief Overview,” Kansas City, MO
09/15/2016 – Olathe Medical Center Grand Rounds, “Breast Cancer in the Era of Genomic Medicine”
09/10/2016 – Heartland Regional SGNA Fall Conference, “What Advances in Molecular Genetics Mean
             for Cancer Care in the GI Tract,” Kansas City, MO
06/10/2016 – American Association of Professional Coders of Kansas City, “Diagnosing and Treating
             Cancer in the Molecular Age,” North Kansas City, MO
01/16/2016 – Texas Society of Pathologists Annual Meeting, “I’m a busy community pathologist! What do
             I need to know about Molecular Pathology test requests?” Dallas, TX
04/14/2015 – Annual Laboratory Directors Conference, Adventist Health Systems, “Paradigm Shifts in the
             Laboratory,” Chicago, IL
12/09/2014 – 6th Annual Diagnostics and Reimbursement Conference, “MoPath Codes for Next-Generation
             Sequencing (NGS) Technologies,” Cambridge, MA
05/14/2014 – Kansas Society of Pathologists Annual Meeting, “Update on Molecular Testing for Common
             Tumors,” Overland Park, KS
04/26/2014 – Virginia Association of Hematologists and Oncologists (VAHO) Annual Meeting,
             “Integrating Molecular Testing for Oncology – Next Steps,” Charlottesville, VA
04/15/2014 – Missouri Clinical Lab Scientists Meeting, “Molecular Pathology: Today and Tomorrow”



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10/30/2013 – Kansas Society of Clinical Oncologists (KaSCO) Annual Meeting, “Integrating Molecular
             Testing for Oncology – Next Steps”
10/01/2013 – Invited Speaker, Adventist Health Systems Lab Directors Conference, “Molecular Pathology”
06/27/2013 – Association of Community Cancer Centers, Online Webinar, “Molecular Testing: Trends and
             Best Practices”
03/04/2013 – USCAP Annual Meeting, APF Companion Meeting, Invited Panel Participant, “Meeting the
             Leadership and Management Challenges Facing the Pathologist of the Future”
12/19/2012 – Storemont-Vale Healthcare, “Current Molecular Testing for Common Malignancies”,
             Topeka, Kansas
12/19/2012 – St. Francis Hospital, “Advances in the Workup of Metastatic Cancer”, Topeka, Kansas
12/04/2012 – “Diagnostic and Surgical Advances in the Management of Non-small Cell Lung Cancer”,
             Shawnee Mission Medical Center Grand Rounds, Shawnee, Kansas
09/18/2012 – AAPC Topeka Chapter Meeting, “Molecular Pathology for Coders”, Topeka, Kansas
04/17/2012 – Kansas City Derm Society, “What Every Dermatologist Should Know About Molecular
             Testing in Skin Lesions,” University of Kansas Campus, Kansas City, Kansas
03/19/2012 – USCAP Annual Meeting, Sponsored Lunch Presentation “Advances in Biomarker Testing for
             NSCLC”, Vancouver, BC, Canada
03/02/2012 – APF Annual Meeting, “Implementing New Molecular Tests While Controlling Costs: Can it
             be Done?” San Diego, California
09/13/2011 – CAP 2011 Annual Meeting (CAP’11), “TP120 - What Every Community Pathologist Should
             Know About Clinical Requests for Molecular Tests”
08/29/2011 – Vanderbilt University, “Establishing Tissue of Origin Through Molecular Technologies”
05/23/2011 – Wichita City Wide Breast Conference, “Translating Gene Expression Patterns Into Validated
             Tumor Stratification Assays”
05/16/2011 – Springfield Oncology Nurses Society, “Using Gene Expression as an Aid to Diagnosis of
             Cancer”
04/09/2011 – Missouri Society of Pathologists Annual Meeting, “Current and Emerging Molecular Testing
             for Common Cancers”
03/18/2011 – Research Medical Center Oncology Nursing, “Making Sense of the Molecular Maelstrom”
02/22/2011 – Greater Kansas City Oncology Nursing Society, “Making Sense of the Molecular Maelstrom”
12/13/2010 – MD Anderson Cancer Center, Multidisciplinary Colorectal Clinical Translational Research
             Conference, “Using Gene Expression as an Aid to Diagnosis of Cancer”
11/07/2010 – AMA Specialty and Service Society, AMA Interim Meeting, San Diego, CA, “Delivering on
             the Promise of Personalized Medicine”
09/27/2010 – CAP 2010 Annual Meeting (CAP’10), “ST101 – You Can Do It Yourself! Molecular Testing
             for Community Pathologists”
06/23/2010 – North Kansas City Hospital, “Personalized Medicine: Practicing in the Genomic Era”
06/15/2010 – Shawnee Mission Medical Center, “Personalized Medicine: Practicing in the Genomic Era”
03/18/2010 – Kansas City Histology Society, “Molecular Pathology, Issues and Impact on Histology”
12/02/2009 – CAP Personalized Healthcare Webinar Series, “Personalized Pathology: PHC in the General
             Pathology Practice”
10/11/2009 – CAP 2009 Annual Meeting (CAP’09), “ST108 - You Can Do It Yourself! Molecular Testing
             for Community Pathologists”

Yellowstone Pathology Institute, Billings, Montana
04/30/2009 – Montana Cancer Registrars Association, “Molecular Studies in Oncology”
01/28/2009 – Montana Association of Female Executives, “Precision Healthcare, The Promise of
             Molecular Medicine”
05/08/2008 – Lewistown, MT, “Breast Cancer Update”
01/08/2008 – Northwest Rockies Regional Conference for Medical Technologists, “Molecular Pathology:
             What, Why and Who Cares?”

Vanderbilt University, Nashville, Tennesse
07/16/2006 – Clinical Case Conference, “RT-PCR for Rapid Detection of Bordatella Pertussis”
06/29/2007 – Clinical Case Conference, “Loss of Heterozygosity in Gliomas”



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Samuel K. Caughron, M.D.                                             Curriculum Vitae, Page 8 of 8
scaughron@mawdpathology.com


06/18/2007 – Clinical Case Conference, “Molecular Testing for BCL2”
05/11/2007 – Laboratory Grand Rounds, “JAK2 in the Chronic Myeloproliferative Disorders”
12/18/2006 – Clinical Case Conference, “Molecular Testing for Williams Syndrome”
12/03/2006 – Clinical Case Conference, “Microsatellite Instability in Colorectal Cancer”
11/20/2006 – Clinical Case Conference, “Hepatitis C – Diagnosis and Genotyping by Molecular Methods”

Creighton University, Omaha, Nebraska
02/15/2006 – PTG105 School of Pharmacy and Allied Health Sciences, “Diseases of the Female Breast”
02/13/2006 – PTG105 School of Pharmacy and Allied Health Sciences, “Female Reproductive Pathology”
12/07/2004 – Pathology Grand Rounds, “Live Anywhere Record Access (LARA) at Creighton University”
02/23/2004 – Pathology Grand Rounds, “Influenza Virus: Avian, Swine, Human and Beyond”
03/04/2003 – Pathology Grand Rounds, “Computer Security: Principles and Practices for Protecting Private
             Information in the Digital Age”
2003–2006 – Small group facilitator, sophomore medical students, Creighton University Medical School
2002–2006 – Morning Report Case Presentations, Multiple Topics in Pathology and Lab Medicine


Honors / Awards

Shawnee Mission Medical Center
   • Recognizing Physician Excellence, Teamwork Award (February 2013)

CAP Foundation
   • Training in Technology Award (June 2005 Award)
   • APIII 2002 and 2003 Travel Award (Fall Informatics Award)
   • AIMCL 2003 Travel Award (Spring 2003 Informatics Award)

Creighton University School of Medicine
    • Hal G. Lankford Pathology Resident Award, 2004, 2005
    • John F. Sheehan Medical Student Award in Pathology, 2002

Other
   • Featured in CAP Today cover article, “Molecular testing moves to Main Street”, November 2010
   • Featured in CAP Today article, “PDA lab data - what they want is what they see”, October 2005
   • Featured Chief Resident for Pathology, ACGME 25th Anniversary Commemorative Book
   • Featured Member, Metropoliton Omaha Medical Society (MOMS), April 2005 Newsletter
   • Featured Alumnus, Thomas Aquinas College Alumni Newsletter, Summer 2006
   • National Merit Scholarship Program Finalist

Interests and Hobbies
• Family is very important to me
• Informatics and software development including iOS, Mac OS X and Android
• Recreational sports, including soccer and pick-up basketball
• Amateur radio including APRS, call sign KC0LEM




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                      ATTACHMENT B – MATERIALS REVIEWED

Materials Reviewed:

   1. Autopsy Photographs

   2. Kaleb Berkshire Deposition

   3. Stephen Wood Deposition

   4. Aumick Police Report

   5. Body Camera Footage Video 1

   6. Body Camera Footage Video 2

   7. Exhibit 19-Cox Patient Record

   8. Exhibit 20-Aumick Porch Photograph

   9. Exhibit 21-Aumick Front Door Photograph

   10. Exhibit 22-Aumick Autopsy Photograph

   11. Exhibit 23-Aumick Autopsy Photograph

   12. Exhibit 24-Aumick Autopsy Photograph

   13. Exhibit 25-Aumick Autopsy Photograph

   14. Exhibit 26-Aumick Autopsy Photograph

   15. Exhibit 27-Aumick Autopsy Photograph

   16. Exhibit 28-Aumick Autopsy Photograph

   17. Exhibit 29-Aumick Autopsy Photograph

   18. Report of the Medical Examiner

   19. AXIS Forensic Toxicology Report

   20. Dr. Lee Morrow Report




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